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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 06, 2016
                           UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL ACTION NO. 2:11-CR-1111-2
                                                §   (CIVIL ACTION NO. 2:16-CV-335)
HERON ESPINOZA                                  §

                                            ORDER

       Heron Espinoza filed a motion to vacate, set aside, or correct sentence pursuant to 28

U.S.C. § 2255. D.E. 154. Although styled a § 2255 motion, the relief he seeks is based upon a

change in the sentencing guidelines and he specifically cites the amendment to the sentencing

guidelines for minor role. The Court construes the motion (D.E. 154) to be one pursuant to 18

U.S.C. § 3582(c)(2). In addition to his motion seeking a sentence reduction for minor role,

Espinoza filed a motion seeking a sentence reduction pursuant to Amendment 782 to the

sentencing guidelines. D.E. 155.

       Espinoza pleaded guilty to conspiracy to possess with intent to distribute 8.11 kilograms

of methamphetamine. He was held responsible for 8.11 kilograms of methamphetamine (actual),

1.99 kilograms of cocaine, and 1.4 grams of cocaine base, all converted to their marijuana

equivalents of 162,602.99 kilograms. His base offense level was calculated upon drug quantity at

38. Two levels were added for importation of methamphetamine for a total offense level of 37,

after credit for acceptance of responsibility. D.E. 52, ¶¶ 16-25. Espinoza had no criminal history

in this country and his guideline sentencing range was 210 to 262 months imprisonment. Id., ¶

46. The Court sentenced him to 210 months imprisonment. D.E. 63.

       Espinoza argues that he qualifies for a sentence reduction pursuant to Amendment 782.

Amendment 782 revised the Drug Quantity Tables and the new tables were made retroactive on



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November 1, 2014. However, the new Drug Quantity Tables still assign a level 38 to 4.5

kilograms or more of actual methamphetamine and for over 90,000 kilograms of marijuana.

Espinoza had a greater quantity of methamphetamine and also a greater quantity of marijuana

equivalent of the drugs for which he was held responsible. He does not qualify for a sentence

reduction pursuant to Amendment 782 because his guideline range is unchanged.

       He also argues he is entitled to minor role pursuant to Amendment 794. The Sentencing

Guidelines have long allowed for role adjustment. See U.S.S.G. § 3B1.2(b), amended November

1, 2015. “Section 3B1.2 is designed to reduce a sentence when the defendant is substantially less

culpable than the average participant in the offense.” United States v. Potahl, 990 F.2d 1456,

1484 (5th Cir. 1993). At sentencing, counsel requested minor role, but the Court denied minor

role because Espinoza had not debriefed sufficiently to qualify for safety valve and there was no

basis for the Court to compare Espinoza’s role to that of his co-defendant Dalila Sanchez. D.E.

78, p. 10. Espinoza argues that he was only a passenger in the vehicle when it went through the

checkpoint, but investigation before sentencing revealed that the vehicle was initially purchased

by Espinoza and later sold to Sanchez, his sister. D.E. 52, ¶ 10.

       Amendment 794 left the text of § 3B1.2 unchanged but made various revisions to the

commentary including a list of non-exhaustive factors that a sentencing court should consider in

determining whether to apply a mitigating role adjustment. The Fifth Circuit has not determined

whether Amendment 794 is clarifying or substantive, although the Ninth and Eleventh Circuits

have held that it is clarifying and thus applicable retroactively to those cases on direct appeal.

United States v. Gomez-Valle, — F.3d —, 2016 WL 3615688 at *5 (5th Cir. July 5, 2016).

However, a clarifying amendment does not apply retroactively to cases on collateral review. See

United States v. Drath, 89 F.3d 216, 217 (5th Cir. 1996). “[E]ligibility for consideration under 18




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U.S.C. § 3582(c)(2) is triggered only by an amendment listed in subsection (c) of U.S.S.G. §

1B1.10 that lowers the guideline range.” Id. at 218 (emphasis in original). Subsection 1B1.10(d)1

does not list Amendment 794 as retroactive, therefore this Court is not authorized to apply it

retroactively.

          Espinoza’s motions for sentence reduction pursuant to Amendment 782 and 794 (D.E.

154, 155) are DENIED. Because Espinoza’ motion (D.E. 154) is really one seeking relief

pursuant to 18 U.S.C. § 3583(c)(2) rather than pursuant to § 2255, the Clerk is instructed to close

the civil case, 2:16-CV-335.


          SIGNED and ORDERED this 6th day of September, 2016.


                                                    ___________________________________
                                                              Janis Graham Jack
                                                       Senior United States District Judge




1
    § 1B1.10 was amended to change (c) to (d) effective November 1, 2014, as part of Amendment 782.



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